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    7

    8                SUPERIOR COURT OF THE STATE OF CALIFORNIA
    9                                COUNTY OF SAN DIEGO
   10

   11   MICHELLE MORIARTY, an                     Case No.: 3:17-cv-01154-LAB-AGS
        individual, as Successor in Interest to
   12   the ESTATE OF HERON                       PLAINTIFFS’ MEMORANDUM OF
        MORIARTY and as GUARDIAN AD               POINTS AND AUTHORITIES IN
   13   LITEM to ALEXANDRIA                       SUPPORT OF MOTION IN LIMINIE
        MORIARTY, ELIJAH MORIARTY,                NO. 3 TO EXCLUDE STATEMENTS
   14   and ETERNITY MORIARTY,                    REGARDING MICHELLE
                                                  MORIARTY’S MARRIAGE AND
   15                              Plaintiff,     DATING
   16         v.                                  Date:     June 12, 2020
                                                  Time:     2:00 p.m.
   17   COUNTY OF SAN DIEGO, and                  Dept:     1410
        DOES 1 through 10, Inclusive,             Judge:    Hon. Larry A. Burns
   18
                                   Defendants.
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        PLAINTIFFS’ MOTION IN LIMINIE #3                   Case No.: 3:17-cv-01154-LAB-AGS
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    1         Pursuant to the January 17, 2020, Minute Order (Dkt. 141), Plaintiffs submit
    2   the following motion in limine requesting this Court to preclude statements
    3   regarding Michelle Moriarty’s Re-Marriage and efforts to date.
    4                                             I.
    5                                   INTRODUCTION
    6          Defendants intend to introduce evidence and testimony relating to Michelle
    7   Moriarty’s remarriage in 2018. Defendants claim Michelle’s remarriage is relevant
    8   to her claim for economic and damages. Plaintiffs move this Court to exclude
    9   reference to Michelle’s remarriage because it is irrelevant and highly prejudicial.
   10                                            II.
   11    EVIDENCE OF MICHELLE’S REMARRIAGE SHOULD BE EXCLUDED
   12         In wrongful death cases, evidence of a surviving spouse’s remarriage is
   13   inadmissible. Cherrigan v. San Francisco, 262 Cal. App. 2d 643, 650 (1968);
   14   Benwell v. Dean, 249 Cal. App. 2d 345 (1967); Wood v. Alves Service Transp.,
   15   Inc., 191 Cal.App.2d 723, 727-729 (1961); Gallo v. Southern Pac. Co., 43
   16   Cal.App.2d 339, 346-347 (1941).
   17         In Benwell, the court held a defendant should not be allowed to profit by the
   18   widow's remarriage. Further, the fact that the surviving spouse has remarried since
   19   the death of decedent “is not to be considered in mitigation of the damages
   20   recoverable in behalf of such surviving spouse.” Wood v. Alves Service Transp.,
   21   Inc., 191 Cal. App. 2d 723, 728, 13 Cal. Rptr. 114, 117, 1961 Cal. App. LEXIS
   22   2115, *7. In Cherrigan, the court noted that, “evidence of conditions occurring after
   23   a wrongful death is inadmissible on the issue of damages because the latter are to be
   24   determined only by conditions which existed at the time the death occurred.”
   25   Cherrigan v. San Francisco, 262 Cal. App. 2d 643, 652 (1968).
   26         In Leahy, plaintiffs filed suit alleging negligence causing wrongful death.
   27   There defendant argued “that it should be allowed to argue that Susan Leahy's
   28   remarriage limits the damages she is entitled to for “loss of service and support”
                                                  2
        PLAINTIFFS’ MOTION IN LIMINIE #3                     Case No.: 3:17-cv-01154-LAB-AGS
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    1
        and for "loss of care, comfort and society" after her husband's death.” Leahy v.
    2
        Lone Mt. Aviation, Inc., 2013 U.S. Dist. LEXIS 61640, *10 (2013). The court ruled
    3
        that the evidence of plaintiff’s remarriage should be excluded even if relevant,
    4
        because any probative value is outweighed by the danger of unfair prejudice and
    5
        confusion of the issues.” Id. at 11*.
    6
              Based on the Leahy ruling, the probative value of Michelle’s remarriage is
    7
        outweighed by the danger of unfair prejudice and confusion of the issues in the
    8
        current case. Moreover, Michelle’s remarriage does not erase the love that
    9
        Michelle and Mr. Moriarty had for each other during their 18 years of marriage
   10
        (Exhibit 1, 68:24-69:1-3), or the pain that she and her family are suffering after his
   11
        tragic death.
   12
                                                 III.
   13
             DEFENDANTS SHOULD ALSO BE PRECLUDED FROM ASKING
   14
                        QUESTIONS THAT WOULD OPEN THE DOOR
   15
              During meet and confer discussions, it is apparent that Defendants intend to
   16
        ask questions that would open to the door to Michelle remarriage. Defendants
   17
        should be precluded from asking certain questions that would either open the door
   18
        or lead to impeachment of her remarriage. Accordingly, the following type of
   19
        questions should be excluded:
   20
           - Have you been able to move on since Mr. Moriarty’s suicide?
   21
           - Have you been able to recover since Mr. Moriarty’s suicide?
   22
           - Have you been able to find happiness since Mr. Moriarty’s suicide?
   23
           - Are you currently involved in a romantic/fulfilling relationship?
   24
           - Have you dated since Mr. Moriarty’s suicide?
   25
           - How long after Mr. Moriarty’s death did you wait to date?
   26
              Asking these questions is akin to introducing evidence of Michelle’s
   27
        remarriage. Accordingly, questions if this nature should be excluded.
   28
                                                   3
        PLAINTIFFS’ MOTION IN LIMINIE #3                     Case No.: 3:17-cv-01154-LAB-AGS
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    1
                                                III.
    2
                                         CONCLUSION
    3
              It is a longstanding principle that Michelle’s remarriage on July 21, 2018, is
    4
        not admissible evidence in a wrongful death lawsuit. Therefore, Defense counsel,
    5
        and their experts, should be excluded from referencing Michelle’s remarriage or
    6
        asking her any questions during their examination that open the door.
    7

    8                                                  MORRIS LAW FIRM, APC
    9

   10
        Dated: May 8, 2020                     By: __s/ Christopher S. Morris__________
   11                                                Christopher S. Morris, Esq.
   12                                                Danielle R. Pena, Esq.
                                                     Attorney for Plaintiffs
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        PLAINTIFFS’ MOTION IN LIMINIE #3                    Case No.: 3:17-cv-01154-LAB-AGS
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    1     INDEX OF EXHIBITS TO PLAINTIFFS’ MEMORANDUM OF POINTS
    2    AND AUTHORITIES IN SUPPORT OF MOTION IN LIMINIE NO. 3 TO
    3      EXCLUDE STATEMENTS REGARDING MICHELLE MORIARTY’S
    4                           MARRIAGE AND DATING
    5   Exhibit                            Description                           Pages
    6       1      Pertinent Portions of the Deposition Transcript of Michelle     6-11
    7                                       Moriarty
    8

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        PLAINTIFFS’ MOTION IN LIMINIE #3                  Case No.: 3:17-cv-01154-LAB-AGS
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                     EXHIBIT 1
                                       6
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                              Michelle Moriarty 11/14/2017


     1              IN THE UNITED STATES DISTRICT COURT

     2            FOR THE SOUTHERN DISTRICT OF CALIFORNIA

     3

     4   MICHELLE MORIARTY, an individual, )
         As Successor in Interest to the   )
     5   Estate of HERON MORIARTY and as   )
         Guardian Ad Litem to ALEXANDRIA   )
     6   MORIARTY, ELIJAH MORIARTY, and    )
         ETERNITY MORIARTY,                )
     7                                     )
                     Plaintiffs,           )
     8                                     )
              v.                           ) Case No.: 17-cv1154-LAB(AGS)
     9                                     )
         COUNTY OF SAN DIEGO, DR. ALFRED   )
    10   JOSHUA, individually, and         )
         DOES 1 through 10, Inclusive,     )
    11                                     )
                     Defendants.           )
    12   __________________________________)

    13

    14

    15

    16          VIDEOTAPED DEPOSITION OF MICHELLE MORIARTY

    17                       SAN DIEGO, CALIFORNIA

    18                         NOVEMBER 14, 2017

    19

    20

    21

    22   REPORTED BY CARLINE A. FONSECA, CSR NO. 8068

    23

    24

    25

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                                Michelle Moriarty 11/14/2017


     1       Q    Did Mesquite already live on Pioneer Way before

     2   you moved there?

     3       A    No.     We bought it together.

     4       Q    And there were two full houses at that address?

     5       A    Yes.

     6       Q    Does Mesquite have a family?

     7       A    No, he doesn't.

     8       Q    Just him?

     9       A    Yes.     Except --

    10            THE WITNESS:       Should I bring up my son?

    11            MS. PENA:      Okay.

    12            THE WITNESS:       My son is going to be moving back

    13   here to live with him, because he is depressed over

    14   there and needs a different environment.            He needs to

    15   come back to be with -- you know, the environment he was

    16   in, he was a lot happier here.

    17   BY MR. WELSH:

    18       Q    Okay.     Have you been married just one time or

    19   more than one time?

    20       A    One time.

    21       Q    How about your husband, one time or more than

    22   one time?

    23       A    One time.

    24       Q    As I understand it, you were married about

    25   18 years?


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                                Michelle Moriarty 11/14/2017


     1       A      Correct.

     2       Q      What was the date of your wedding?

     3       A      March 7th, 1998.

     4       Q      Can you give me just a brief description of how

     5   you met?

     6       A      Yeah.   We met at church at a singles group that

     7   they had, like a Bible study, and then we would all do,

     8   like, events together and hang out and stuff and that's

     9   how we met.

    10       Q      And that was at the Calvary church?

    11       A      Calvary Chapel San Diego.

    12       Q      What year was it when you switched from Calvary

    13   Chapel to The Rock?

    14       A      Like, maybe a year-and-a-half, two years later.

    15   I don't remember.

    16       Q      About 2000?

    17       A      Yeah, or maybe the beginning of 2001.           It was

    18   somewhere in that time period.

    19       Q      Okay.   And then you were at The Rock for how

    20   long?

    21       A      Oh, like, eight or nine -- eight to ten years.

    22   It's a blur.     We were there for a while.

    23       Q      Why did you switch from The Rock to C3?

    24       A      Actually, before we went to C3, we went to

    25   Bonita Valley Christian.        The Rock was just getting


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                              Michelle Moriarty 11/14/2017


     1         I, MICHELLE MORIARTY, do hereby declare under

     2    penalty of perjury under the laws of the State of

     3    California that I have read the foregoing transcript;

     4    that I have made such corrections as noted herein, in

     5    ink, initialed by me, or attached hereto; that my

     6    testimony as contained herein, as corrected, is true and

     7    correct.

     8         Executed this ______ day of __________, _____, at

     9    ____________________, _____________________.

    10

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    15                         __________________________

    16                                 MICHELLE MORIARTY

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                               Michelle Moriarty 11/14/2017


     1         I, Carline A. Fonseca, a Certified Shorthand

     2    Reporter of the State of California, do hereby certify:

     3         That the foregoing proceedings were taken before me

     4    at the time and place herein set forth; that any

     5    witnesses in the foregoing proceedings, prior to

     6    testifying, were placed under oath; that a verbatim

     7    record of the proceedings was made by me using machine

     8    shorthand which was thereafter transcribed under my

     9    direction; further, that the foregoing is an accurate

    10    transcription thereof.

    11

    12

    13    Dated:   This ______ day of __________________, ________,

    14             at San Diego, California.

    15

    16

    17

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    20                        ____________________________
                                     Carline A. Fonseca
    21                               CSR No. 8068

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